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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       Criminal No. 2:19-cr-00123-DBH
                                             )
DAMON FAGAN                                  )



   GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO REOPEN THE
                     SUPPRESSION HEARING

       The United States of America, by and through its attorneys, Halsey B. Frank, United

States Attorney for the District of Maine, and Nicholas Scott, Assistant United States Attorney,

respectfully objects to Defendant’s Motion for Discovery (ECF No. 123). The defendant has

been charged by indictment with one count of possession with intent to distribute heroin in

violation of 21 U.S.C. § 841(a)(1) (ECF No. 24). For the following reasons, the government

respectfully requests that the defendant’s Motion to Reopen the Suppression Hearing (ECF No.

118) be granted in part, for the limited purposes described herein, and denied in part. The

government further contends that following a reopened suppression hearing, the defendant’s

motion to reconsider should be denied for the reasons outlined in the Court’s Order on

Defendant’s Motion to Suppress. See Transcript of Proceedings, February, 6, 2020, ECF No. 71.

                                  PROCEDURAL HISTORY

       The relevant procedural history in this case is outlined in the Government’s Response In

Opposition to Defendant’s Motion For Discovery. (ECF No. 125). Defendant filed the instant

Motion to Reopen Suppression Hearing (ECF No. 118) seeking to reopen the suppression

hearing held on defendant’s Motion to Suppress. (ECF No. 46). Defendant contends that he has

received new evidence, in the form of video of Trooper Darcy’s stop of the defendant in the case



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of USA v. Terrell Walker 19-220-JDL. 1 Defendant thus moves to reopen the suppression

hearing, (1) to admit the new evidence which he contends should be considered with respect to

Trooper Darcy’s credibility as a witness, and (2) to pursue his contention that he was subject to

selective enforcement in violation of the equal protection clause. The government consents to a

limited reopening of the suppression hearing, to permit defendant to question Trooper Darcy

regarding his statements made in the above-referenced video from United States v. Terrell

Walker, and for the purpose of determining whether the statements have any bearing on Trooper

Darcy’s credibility as it relates to the issues raised in the suppression hearing. The Court should

deny defendant’s motion to reopen the suppression hearing with respect to defendant’s claims of

selective enforcement because suppression of evidence is not a recognized remedy for equal

protection violations. Further even if suppression was a recognized remedy for such a claim,

defendant has not shown any credible evidence that he was subjected to selective enforcement,

and is not entitled to a hearing.

                                               ARGUMENT

         SUPPRESSION OF EVIDENCE IS NOT A RECOGNIZED REMEDY FOR
              VIOLATIONS OF THE EQUAL PROTECTION CLAUSE.

        The United States Constitution prohibits selective enforcement of the laws, but the proper

basis for raising claims of selective enforcement is the Equal Protection Clause, not the Fourth

Amendment. Whren v. United States, 571 U.S. 806, 813 (1996). The Supreme Court has never

held that dismissal, or some other sanction is a proper remedy if the Court determines that the

defendant has been the victim of a race-based prosecution. United States v. Armstrong, 517 U.S.

456, 461 n.2 (1996). It has noted, however, that a selective-prosecution claim is not a defense on



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 The video is described in further detail in the Government’s Response to Defendant’s Motion for Discovery, ECF.
No. 125.

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the merits of a criminal charge, but rather an independent assertion that the prosecutor has acted

in violation of the Constitution. Id. at 463. However, the exclusionary rule is not a Constitutional

right of the one claiming it; rather, it is a judicially created remedy to “safeguard Fourth

Amendment rights generally” through its deterrent effect. United States v. Calandra, 414 U.S.

338, 348 (1974).

       Even in the Fourth Amendment context, however, the Supreme Court has been de-

emphasizing the exclusionary rule as a remedy. See, i.e. United States v. Hudson, 547 U.S. 586,

591 (2006) (holding the exclusionary rule inapplicable for violations of the knock-and-announce

rule and noting that “[s]uppression of evidence has always been our last resort, not our first

impulse. The exclusionary rule has ‘substantial social costs,’ which sometimes involve setting

the guilty free and the dangerous at large.”); United States v. Leon, 468 U.S. 897, 906 (1984)

(holding that whether the exclusionary rule is appropriate for a given case is separate and apart

from the question of whether a Fourth Amendment Right was violated).

       The first Circuit has noted that other circuits have held that an Equal Protection violation

does not require suppression, but indicated that it has not yet opined on the issue. See United

States v. Starks, 769 F.3d 83, 90 n.6. (1st Cir. 2014), citing United States v. Nichols, 512 F.3d

789, 794 (6th Cir. 2008) (overruled on other grounds). No circuit court has held that the

exclusionary rule applies to violations of the Equal Protection Clause, while several have held

explicitly to the contrary and/or denied a motion to suppress without deciding the issue. In

Nichols, the Sixth Circuit expounded, “[w]e are aware of no court that has ever applied the

exclusionary rule for a violation of the Fourteenth Amendment’s Equal Protection Clause, and

we decline Nichols’s invitation to do so here. Rather we believe the proper remedy for any

alleged violation is a 42 U.S.C. ' 1983 action against the offending officers.” United States v.



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Nichols, 512 F.3d 789, 794 (6th Cir. 2008). See also United States v. Williams, 431 F.3d 296,

299 (8th Cir. 2005) (denying motion to suppress because uncertain that dismissal is an

appropriate remedy); United States v. Chavez, 281 F.3d 479, 486 - 87 (5th Cir. 2002) (“neither

the Supreme Court nor our Court has ruled that there is a suppression remedy for violations of

the Equal Protection Clause, and we do not find it necessary to reach that issue here.”); cf. United

States v. Mosley, 454 F.3d 249, 268 n.24 (3rd Cir. 2006) (dicta indicating that exclusionary rule

has an effect on police profiling); United States v. Benitez, 613 F. Supp.2d 1099, 1102 n.3 (S.D.

Iowa 2009) (notes without deciding that exclusion would seem to be a proper remedy).

       Thus, suppression is not a recognized remedy for violations of the Equal Protection

Clause, and adding the exclusionary rule as a remedy presents risks such as those outlined by the

United States Supreme Court in Hudson, 547 U.S. at 591. If defendant’s rights had been violated,

the proper remedy would be an action under 42 U.S.C. 1983.

       Even if suppression were a recognized remedy for equal protection violations, as

discussed in the Government’s Response in Opposition to Defendant’s Motion for Discovery

(ECF No. 125), defendant has failed to show any evidence of selective enforcement by Trooper

Darcy. As discussed therein, defendant has not made any credible showing of some evidence

that a similarly-situated individual of another race could have been, but was not stopped or

arrested in similar circumstances to the instant case. See United States v. Armstrong, 517 U.S.

456 (1996), United States v. Alcaraz-Arellano, 441 F.3d 1252 (10th Cir. 2006), United States v.

Barlow, 310 F.3d 1007 (7th Cir. 2002). Accordingly, the Court should deny the defendant’s

motion to reopen the suppression hearing in-so-far as defendant seeks to pursue his unsupported

claim of selective enforcement.




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                                       CONCLUSION

       The government respectfully requests that the defendant’s Motion to Reopen the

Suppression Hearing be granted in part, for the limited purposes described above. The

government further requests that following a reopened hearing, the defendant’s motion to

reconsider the Court’s Order Denying his motion to suppress be denied.

       Dated: November 16, 2020

                                                   Halsey B. Frank
                                                   United States Attorney


                                                    /s/ Nicholas Scott
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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE


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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 16, 2020, I electronically filed the Government’s
Opposition to the Defendant’s Motion to Reopen the Suppression Hearing with the Clerk of
Court using the CM/ECF system, which will send notification of such filing to the counsel of
record.


                                                   Halsey B. Frank
                                                   United States Attorney


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